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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                             Hon. Joseph H. Rodriguez

                 V.                                  Crim. No. 19-·1 \ c\    Cs\.\12-J
FRANK GILLIAM                                        WAIVER OF INDICTMENT




          I, Frank Gilliam, the above-named defendant, who is charged in the Information with

knowingly and intentionally devising and intending to devise a scheme and artifice to defraud the

contributors to AC Starz of money, facilitated by the use of interstate wire transmissions, in

violation of 18 U.S.C. § 1343; being advised of the nature of the charge, the proposed Information,

and my rights, hereby waive in open court on October 3, 2019 prosecution by indictment and

consent that the proceeding may be by information rather than by indictment.




                                                     FRANK GILLIAM



                                                    L~k
                                                     HARRY H. RIMM, ESQ.
                                                     Counsel for Defendant Frank Gilliam



Before:
